UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
LOOMIS SAYLES TRUST CO., LLC,                                 :
                                             Plaintiffs,      :   22 Civ. 6706 (LGS)
                                                              :
                           -against-                          :        ORDER
                                                              :
CITIGROUP GLOBAL MARKETS, INC.,                               :
                                             Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, a conference was scheduled but did not take place on October 27. In the

interest of avoiding further delay, the Court makes the rulings below;

        WHEREAS, on September 26, 2022, Defendant filed a pre-motion letter regarding an

anticipated motion to dismiss. The same day, it also filed a letter seeking a stay of discovery

during the pendency of that motion. On October 3, 2022, Plaintiffs filed a response to the pre-

motion letter and the request for a stay, as well as a pre-motion letter regarding an anticipated

motion for class certification. On October 5, 2022, the parties filed a joint letter and proposed

case management plan in anticipation of a Rule 16 conference. It is hereby

        ORDERED that the parties shall brief Defendant’s motion to dismiss on the following

schedule: Defendant shall file its motion and supporting papers by November 16, 2022.

Plaintiffs shall file any opposition by December 9, 2022. Defendant shall file a reply by

December 16, 2022. The parties shall consult the Court’s Individual Rules regarding page limits

and other matters pertaining to the motion. It is further

        ORDERED that the application for a stay of discovery during the pendency of

Defendant’s motion to dismiss is DENIED. It is further

        ORDERED that the parties’ proposed discovery schedule is adopted and the Rule 16

conference is cancelled. A case management plan will issue separately. Particularly as the Court
has adopted the parties’ extended deadlines, extensions will not be granted absent a showing of

good cause and diligence in completing discovery. The parties’ attention is also drawn to the

requirement for periodic status letters as outlined in the case management plan. It is further

       ORDERED that a conference regarding Plaintiff’s proposed motion for class certification

will be held on November 2, 2022, at 4:10 p.m. The conference will be telephonic and will take

place on the following line: 888-363-4749; access code: 558-3333. The start time of the

conference is approximate, but the parties shall be prepared to begin at the scheduled time.

Dated: October 27, 2022
       New York, New York




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